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                        IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

RICHARD ESPINOZA, JR., RAYMOND                    §
ESPINOZA, AND                                     §
REBECCA ANN SANCHEZ,                              §
            Plaintiffs                            §
v.                                                §            Civil Action No. 5:16-cv-01042
                                                  §
WMK SAN ANTONIO, LLC, D/B/A                       §
DOUBLETREE BY HILTON,                             §
     Defendant                                    §


           WMK MANAGEMENT, LLC, D/B/A DOUBLETREE BY HILTON’S
                        NOTICE OF REMOVAL

       COMES NOW, WMK MANAGEMENT, LLC, D/B/A DOUBLETREE BY HILTON

Defendant herein, and files its Notice of Removal pursuant to 28 U.S.C. §1441(a) and (b).

                                                  I.

                     INTRODUCTION AND FACTUAL BACKGROUND

1.     This is a wrongful death action brought by Richard Espinoza, Jr., Raymond Espinoza,

       and Rebecca Ann Sanchez, the adult children of the decedent, Richard Espinoza, Sr. On

       or about September 6, 2014, Richard Espinoza, Sr., while working on his regular job shift

       at the DoubleTree by Hilton hotel located at 37 N.E. Loop 410, San Antonio, TX 78216,

       attempted to repair a guest room’s inoperative air conditioner. Upon his second attempt

       to repair said air conditioner, he was allegedly exposed to a deadly electric current and

       was fatally electrocuted.

2.     On September 21, 2016, Plaintiffs filed their First Amended Petition Original Petition in

       the 408th Judicial District Court of Bexar County, Texas (“State Court Action”).




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3.     On September 21, 2016, WMK MANAGEMENT, LLC, D/B/A DOUBLETREE BY

       HILTON was served with the citation and First Amended Original Petition. On October

       4, 2016, an Original Answer was filed in the State Court Action on behalf of WMK

       MANAGEMENT, LLC, D/B/ADOUBLETREE BY HILTON.

4.     On October 19, 2016, WMK MANAGEMENT, LLC, D/B/ADOUBLETREE BY

       HILTON filed its original Notice of Removal to the Western District of Texas, San

       Antonio Division within the 30-day time period required by 28 U.S.C. §1446(b).

                                                  II.

                  BASIS FOR REMOVAL -- DIVERSITY JURISDICTION

5.     Plaintiffs are individual citizens of the State of Texas.

6.     Defendant WMK MANAGEMENT, LLC, D/B/ADOUBLETREE BY HILTON is a

       Delaware limited liability company with its principal place of business in Texas. WMK

       MANAGEMENT, LLC, D/B/A DOUBLETREE BY HILTON.

7.     Pursuant to 28 U.S.C. §1441(b), removal of this case is proper because there is complete

       diversity between the parties, as Plaintiff and Defendants are citizens of different states.

8.     Pursuant to 28 U.S.C. §1441(a), for purposes of removal, venue is proper to this district

       and in this division because it embraces the place where the removed action has been

       pending.

9.     Pursuant to 28 U.S.C. §1446(a) and Local Rule 81, all process, pleadings and orders

       served upon Defendants in the State Court Action are filed with this Notice of Removal.




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                                                 III.

                                  NOTICE TO STATE COURT

10.    Promptly after the filing of this Notice of Removal, WMK MANAGEMENT, LLC

       D/B/A DOUBLETREE BY HILTON will provide notice of the removal to Plaintiff

       through his attorney of record in the State Court Action and to the Clerk of the Court in

       the State Court Action, as required by 28 U.S.C. §1446(d).

                                                 IV.

                                    JURY NOT DEMANDED

11.    Plaintiff did not demand a jury in the State Court Action.

                                                  V.

                                          LOCAL RULES

12.    This Notice of Removal is filed in accordance with the Local Rules for the Western

       District of Texas.

                                                 VI.

                                          CONCLUSION

13.    By this Notice of Removal, WMK MANAGEMENT, LLC D/B/A DOUBLETREE

BY HILTON does not waive any defenses or objections they may have to this action.

Defendant intends no admission of fact, law or liability by this Notice, and expressly reserve all

defenses, motions and/or pleas.




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                                       Respectfully Submitted,


                                       /s/ Timothy U. Stanford
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                                       ATTORNEYS FOR DEFENDANT
                                       WMK MANAGEMENT, LLC, D/B/A DOUBLETREE
                                       BY HILTON


                                  CERTIFICATE OF SERVICE


       I hereby certify that the foregoing document was sent to the Clerk of the Court on the
19th day of October, 2016, via the Western District of Texas CM/ECF System, which will
transmit a Notice of Electronic Filing to all attorneys of record.




                                       /s/ Timothy U. Stanford
                                       Timothy U. Stanford




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